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EXHIBIT A

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,

Plaintiffs,

vS_ Civil Action No. 1:18-mc-00613-LY

GRANDE COMMUNICATIONS
NETWORKS LLC and PATRIOT MEDIA
CONSULT]`NG, LLC,

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Defendants.

DECLARATION OF ALASDAIR MCMULLAN IN SUPP()RT OF PLAINTIFFS’
SUPPLEMENTAL MOTION TO SEAL CERTAIN EXHIBITS

I, Alasdair McMullan, the undersigned, hereby declare:

l. I am Senior Vice President, Legal Affairs, at Universal Music Group. In my
capacity as in-house counsel for Universal Music Group, among other things, I manage and
supervise litigation for UMG Recordings, Inc. and its record label affiliates, including but not
limited to Capitol Records, LLC (forrnerly Capitol Records, Inc.), Capitol Christian Music Group,
Inc., Fonovisa, Inc., Roc-A-Fella Records, LLC, and Tooth & Nail, LLC (collectively, the “UMG
Plaintiffs”). In addition, through my position at Universal Music Group, I am familiar with the
books and records of the UMG Plaintiffs and their record label affiliates, including documents
such as agreements (including those referenced in this declaration) pursuant to which the UMG
Plaintiffs possess rights in the sound recordings at issue in this litigation.

2. I submit this declaration in support of Plaintiffs’ Supplemental Motion to Seal

Certain Exhibits. I have personal knowledge of the facts set forth below and/or have learned of

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these facts as a result of my position and responsibilities at Universal Music Groupl I'f called upon
and sworn as a Witness, I could and would testify competently as to the matters set forth herein.

3. On September 11, 2018, I submitted a Declaration in Support of Plaintiffs’
Opposition to Grande’s Motion for Sumrnary Judgment, and Cross-Motion for Summary
Judgment (“September ll Declaration”) [Dkt. 173-2 through 173-47]. I attached exhibits to that
declaration with the understanding that they were being filed under seal and would be shielded
from public disclosure under the Protective Order entered in this case. In addition, Grande filed
certain of Plaintiffs’ documents as exhibits to its August 31, 2018 Motion For Sanctions And To
Exclude Documents Produced After The Fact Discovery Deadline [Dkt. 156] (“Motion to
Exclude”).

4. I am submitting the instant declaration to support the UMG Plaintiffs’ request that
these documents remain under seal. These materials comprise contracts between the UMG
Plaintiffs and recording artists, and inter-company licensing agreements As discussed below, the
UMG Plaintiffs treat these documents as highly contidential, and the disclosure of the terms of
these agreements would cause the UMG Plaintiffs competitive and financial harm.

Artist Contracts

5. The UMG Plaintiffs are engaged in the creation, manufacture, distribution,
licensing and sale of sound recordings Like other record labels, the UMG Plaintiffs enter into
contracts with recording artists, or production companies affiliated with such artists, pursuant to
Which these artists or production companies grant to the UMG Plaintiffs ownership of the rights
in sound recordings, delivered by those performers to the UMG Plaintiffs pursuant to the contracts.

6. I attached the following artist / production company contracts as exhibits to my

September 11 Declaration: Exhibits 3, 5, 17, 22, 23, 24, and 25.

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‘ 7 . In addition to the artist contracts I attached as exhibits to my September ll
Declaration, Grande attached one more artist contract produced by UMG (UMG_00019588) as
Exhibit ll to Grande’s Motion to Exclude. Exhibit ll was contemporaneously filed under seal as
docket entry 158-3, attached to Grande’s Unopposed Motion to File Under Seal [Dkt. 158].

8. Artist contracts are among the most highly confidential and competitively sensitive
documents in the UMG Plaintiffs’ files. Record companies compete vigorously to sign artists to
exclusive recording agreements, and to retain them. The UMG Plaintiffs’ artist contracts are
detailed agreements that set forth the numerous terms of the parties’ agreement, including how
many albums the artist will record for the record company, the process for recording albums under
the agreement as well as the recording fund for such albums, a grant of rights to the record
company, the royalties which Will be paid to the artist based upon exploitation of their recordings
and how such royalties are to be calculated, advances against future royalties that the record
company will pay to the artist, and marketing commitments and restrictions The terms of these
agreements are extensively negotiated on a case by case basis between the parties, and the terms
of the agreements vary significantly from one artist to the next. The terms of these agreements are
highly confidential and constitute commercially and competitively sensitive proprietary
information. The agreements sometimes include express confidentiality provisions that protect
against their public disclosure. See, e.g., Ex. 25 at UMG_00016702.

9. The UMG Plaintiffs treat our artist agreements in the strictest of confidence The
terms of these agreements are not publicly known or available. If they were included in the public
record, it would place the UMG Plaintiffs at a severe competitive disadvantage and cause us
financial harm in relation to our competitors, who could try to use the information to their

advantage in competing to sign and retain artists. As we are in the recorded music business, our

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` relationships with recording artists are critical to our success The disclosure of the terms of our
artist agreements would jeopardize the UMG Plaintiffs’ relationships with the artists who are
parties to the contracts; those artists are not parties to this litigation and expect that the confidential
terms of their contracts will not be disclosed publicly. See, e.g. , Ex. 3 at UMG_00012947 (“Given
the high public profile of various of Artist and Contractor’s staff, clients and customers and the
effect unwanted publicity can have on the private life, career and earning capacity of the same,
Company acknowledges that this requirement of confidence is a very important and fundamental
term of this Agreement.”). The disclosure of the contracts could also undermine our ability to
negotiate with and sign new artists
Intercompany Licensing Agreements

lO. The UMG Plaintiffs and their foreign affiliates negotiate and enter into
intercompany license agreements which grant the UMG Plaintiffs exclusive U.S. rights to
recordings owned or controlled by their foreign affiliates I submitted one such intercompany
license agreement, along With related agreements evidencing the transfer and/or licensing of
recording rights, as Exhibit 4 to my September ll Declaration,

ll. These intercompany license agreements are highly confidential and contain
inforrnation, such as with respect to royalty rates and other terms and conditions, that derive
independent economic value, actual or potential, from not being generally known to the public or
to other persons who can obtain economic value from its disclosure or use, such as the competitors
of the UMG Plaintiffs and their affiliates

12. Disclosure of the terms of these intercompany license agreements would cause
competitive and financial harm to the UMG Plaintiffs because it would allow competitors and

counterparties an unfair advantage in their dealings with us, as it would help them assess how we

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' internally structure and value our internal licensing; our competitors and counterparties could use
that information to their financial advantage in their negotiations with the UMG Plaintiffs For
example, non-affiliated licensees could base their negotiations with the UMG Plaintiffs off of the
internal licensing rates and terms in the intercompany license agreements Similarly, artists could
use the confidential internal cost structure in negotiating with the UMG Plaintiffs, adversely
affecting the UMG Plaintiffs’ position in such negotiations

13. We maintain these intercompany license agreements as highly confidential in the
ordinary course of business, and our foreign affiliates only permit the related agreements to be
produced in litigation based upon our representation to them that the agreements would be
protected from disclosure to the public or anyone other than litigation counsel and the Court by
the Protective Order in this litigation and that the UMG Plaintiffs would do their utmost to protect
and maintain the confidentiality of the agreements and their terms

l4. The UMG Plaintiffs and their affiliates make efforts (and expect their licensees to
make similar efforts) that are reasonable under the circumstances to maintain the secrecy of the
intercompany license agreements such as insisting upon protective orders and confidentiality
agreements before disclosing them or any of their terms to third parties, and, even then, by only
disclosing those terms that are necessary under the particular circumstances

Merger & Acguisition Agreements

15. In addition, the UMG Plaintiffs have entered into merger or acquisition transactions
with counterparties at various times, by virtue of which they have acquired the rights to recordings,
including the exclusive U.S. rights to certain of those at issue in this case. I attached the following
such agreements as exhibits to my September ll Declaration: Exhibits 10, 13, 15, 16, 17, 18, 28,

and 29.

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16. In addition to the merger and acquisition agreements I attached as exhibits to my l t v

September ll Declaration, two more agreements produced by the UMG Plaintiffs
(UMG_00019630 and UMG_00018746) were filed under seal as part of Exhibits 5 and ll to
Grande’s Motion to Exclude [Dkt. 156]. Exhibits 5 and ll to Grande’s Motion to Exclude were
contemporaneously filed under seal as docket entries 158-2 and 158-3 where they were attached
to Grande’s Unopposed Motion to File Under Seal [Dkt. 15 8].

l7. The agreements attached to my September 11 Declaration and Defendant’s Motion
to Exclude contain a variety of confidential, proprietary and commercially sensitive pricing and
deal terms and accordingly often include express confidentiality provisions See, e.g., Ex. 17 at
UMG_00021548.

18. Disclosure of these agreements would allow competitors and counterparties an
unfair advantage in their dealings with the UMG Plaintiffs by enabling them to assess how the
UMG Plaintiffs and/or their contractual counterparts price and structure their transactions and by
enabling them to use that information to their advantage in their negotiations with the UMG
Plaintiffs

19. For these reasons the UMG Plaintiffs take steps to ensure that this information
remains confidential, including express confidentiality provisions in contracts designations and
notifications identifying this information as confidential, marking this information as confidential
when in litigation, and other similar measures If such information were revealed, the UMG
Plaintiffs’ business interests would suffer competitive or financial injury, or potential legal liability
to third parties including (but not limited to) harm to the UMG Plaintiffs’ negotiating position
with respect to counterparties and harm to the UMG Plaintiffs’ ability to compete with other

recording companies

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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

smuth this;ich day or september, 2018, in santa Monica, california

/s/ jim

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